  8:07-cr-00255-JFB-FG3      Doc # 20     Filed: 08/10/07   Page 1 of 1 - Page ID # 30




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                    Plaintiff,              )
                                            )                  8:07CR255
      vs.                                   )
                                            )                    ORDER
BERNARDINO VALDIVIEZO-                      )
RODRIGUEZ,                                  )
                                            )
                    Defendant.


      This matter is before the court on defendant's unopposed M OTION TO CONTINUE
PRETRIAL MOTIONS [19]. For good cause shown, I find that the motion should be granted.
 The defendant will be given the requested approximate 10-day extension. Pretrial
Motions shall be filed by August 23, 2007.

      IT IS ORDERED:

      1.      Defendant's MOTION TO CONTINUE PRETRIAL MOTIONS [19] is granted. Pretrial
motions shall be filed on or before August 23, 2007.

      2.     Defendant is ordered to file a waiver of speedy trial as soon as practicable.

       3.     The ends of justice have been served by granting such motion and
outweigh the interests of the public and the defendant in a speedy trial. The additional
time arising as a result of the granting of the motion, i.e., the time between August 13,
2007 and August 23, 2007, shall be deemed excludable time in any computation of
time under the requirement of the Speedy Trial Act for the reason defendant's counsel
required additional time to adequately prepare the case, taking into consideration due
diligence of counsel, and the novelty and complexity of this case. The failure to grant
additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).

      DATED this 10th day of August, 2007.

                                         BY THE COURT:


                                         s/ F.A. Gossett
                                         United States Magistrate Judge
